      Case: 3:08-cr-00041-TMR Doc #: 242 Filed: 09/09/13 Page: 1 of 2 PAGEID #: 989




                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                              WESTERN DIVISION AT DAYTON

UNITED STATES OF AMERICA,
                                                   Case No. 3:08-cr-041
                                                   Also Case No. 3:12-cv-397
                Plaintiff,
                                                   Judge Thomas M. Rose
-v-                                                Magistrate Judge Michael R. Merz

EVERARDO RODRIQUEZ-VILCHIS,

            Defendant.
______________________________________________________________________________

      ENTRY AND ORDER OVERRULING RODRIQUEZ-VILCHIS’
      OBJECTIONS (Doc. #241) TO THE MAGISTRATE JUDGE’S SECOND
      SUPPLEMENTAL REPORT AND RECOMMENDATIONS; ADOPTING
      THE MAGISTRATE JUDGE’S SECOND SUPPLEMENTAL REPORT
      AND RECOMMENDATIONS (Doc. #238) IN ITS ENTIRETY;
      DISMISSING RODRIQUEZ-VILCHIS’ § 2255 MOTION (Doc. #209) WITH
      PREJUDICE; DENYING A CERTIFICATE OF APPEALABILITY AND
      CERTIFYING THAT ANY APPEAL WOULD BE OBJECTIVELY
      FRIVOLOUS
______________________________________________________________________________

         Pro Se Defendant Everardo Rodriquez-Vilchis (“Rodriquez-Vilchis”) filed a Motion To

Vacate pursuant to 28 U.S.C. § 2255. (Doc. #209.) On December 3, 2012, Magistrate Judge

Michael R. Merz issued a Report and Recommendations (doc. #210) recommending that

Rodriquez-Vilchis’ 2255 Motion be denied. Rodriquez-Vilchis objected. (Doc. #211.) This

matter was then recommitted to Magistrate Merz (doc. #212) who then withdrew the Report and

Recommendations and ordered Rodriquez-Vilchis to supplement his 2255 Motion (doc. #213).

When Rodriquez-Vilchis failed to respond, Judge Merz issued a Supplemental Report and

Recommendations again recommending that Rodriquez-Vilchis’ 2255 Motion be denied. (Doc.

#214.) Rodriquez-Vinchis objected. (Doc. #215.) This matter was again recommitted to

Magistrate Merz (doc. #217) who withdrew his Supplemental Report and Recommendations
   Case: 3:08-cr-00041-TMR Doc #: 242 Filed: 09/09/13 Page: 2 of 2 PAGEID #: 990




(doc. #225).

       After further briefing, Magistrate Merz issued his Second Supplemental Report and

Recommendations on July 18, 2013. (Doc. #238.) Therein, Magistrate Merz recommends that

Rodriquez-Vilchis’ 2255 Motion be Dismissed with prejudice, that Rodriquez-Vihchis be denied

a certificate of appealability and that the Court certify that any appeal would be objectively

frivolous.

       Rodriquez-Vilchis has Objected (doc. #241) and the time has run and the Government

has not responded to this Objection. This matter is, therefore, ripe for decision.

       As required by 28 U.S.C. §636(b) and Federal Rules of Civil Procedure Rule 72(b), the

District Judge has made a de novo review of the record in this case. Upon said review, the Court

finds that Rodriquez-Vilchis’ Objections to the Magistrate Judge’s Second Supplemental Report

and Recommendations are not well-taken, and they are hereby OVERRULED. The Magistrate

Judge’s Second Supplemental Report and Recommendations is adopted in its entirety.

Rodriquez-Vilchis’ § 2255 Motion is dismissed with prejudice. Further, Rodriquez-Vilchis is

denied a certificate of appealability. Finally, any appeal would be objectively frivolous.

       DONE and ORDERED in Dayton, Ohio, this 9th day of September, 2013.

                                                                  s/Thomas M. Rose
                                                           _______________________________
                                                                   THOMAS M. ROSE
                                                           UNITED STATED DISTRICT JUDGE

Copies furnished to:

Counsel of Record
Everardo Rodriquez-Vilchis at his last address of record




                                                 -2-
